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Case 5:18-0\/-02110-3(313~81-|1< Document 1-2 Filed 10/03/18 Page l of 1 'Page lD #:10

1 ` _ CERTIFICA’I‘ION OF SCOPE OF PEDERAL EMPLOYMENT
' 2. I DavidM Harris, Chief of the Civil Division United States Attomey’ s Ofi1ce
`3 for the Centtal Dist110t of Ca11fo1'nia, ptn'suant to 111e prov1s10ns of 28_ U S C. § 2679(d),
and by Vii'tue of the authority.VeSted 111 me by the Attomey General of the Un'ited States
under 28 C 11 R. § 15 4,11e1eby certify as follows: ' `

1. 1 have read the Co1r1pla1nt entitled Mz‘chael D ’Aleo and Lynne D ’Aleo v.
Robert Dwor.s'hak, Marz`bel Pz`na EANHoldz'ng,s', LLC Enterprz`se Ren-A~Car of Los
Angeles, LLC, Does ] 10 100 inclusive, Case No. MCC1800871, 111 the Supetior Coutt

oo_Qo\;J\.z:.

for the State of Calii`ornia, Riverside County
10 2. Based upon the information now available to me With respect to t11e

.,\O

11 incidents referred to in the Complaint defendant Roben: Dwo`rshalc Was acting within the

12 course and Scope of employment With the United States at a1l times material to the
‘13 incidents alleged 111 the Con:tplaint. ~ ~ `

14 ,
'15 DATED: 337-113

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17 _ , , . ' ' ~ nAV'to 1\/'1. HAantS
13 ` ` ' Assistant U~nited States Att`orney
' . 1 . ` ’Chief CiVil Division .

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EXHIBIT 1 - pg.' 4

 

 

 

